Case 1:13-cr-00392-CMA Document 558-2 Filed 02/06/18 USDC Colorado Page 1 of 1

CERTIFICATE (PROOF) OF SERVICE

 

‘I, George Thomas Brokaw, certify that I placed a true and

correct copy of the forgoing verified Travers in Reply to.

 

District Court's Opposition to Defendant's -Petition Pursuant 28

U.S.C. § 2255 in the prison mailbox pursuant UHouston v. ack,

487 U.S. 266 (1988), First Class Mail, U.S. Postage prepaid,
properly addressed to the following:

Clerk of Court

U.S.D.C., District of Colorado

Alfred A. Arraj United States Courthouse
901 19th Street, 2nd Floor

Denver, CO 80294

Office of the United States Attorney
District of Colorado

1225 17th Street East, Suite 700
Denver, CO 80202 ;

Moz NNorcv achial

_ Server /

 

Dated: February. / , 2018.

I, George Thomas Brokaw, with unsworn declaration, affirm
and certifiy under penalty of perjury under the laws of the
United States of America, pursuant 28 U.S.C. § 1746, that the
foregoing is true and correct to the best of my ability and
knowledge.

Executed this _/ day of February, 2018.

By: Linge / Ino bashee

Autograph
